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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 17-cv-1844

Daniel Johnson, individually on behalf of themselves and on behalf of all others similarly
situated,

                       Plaintiff,

v.

Inman’s Auto Rescue of Colorado, LLC,

                       Defendant.


                                    ENTRY OF APPEARANCE


       To the clerk of court and all parties of record:

       I hereby certify that I am a member in good standing of the bar of this court, and I appear

in this case as counsel for Plaintiff Johnson and the alleged Classes.


       DATED at Denver, Colorado this 9th day of August, 2017.

                                                      ,       s/     Patrick H. Peluso

                                                              Patrick H. Peluso
                                                              ppeluso@woodrowpeluso.com
                                                              Woodrow & Peluso, LLC
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                                                              Denver, Colorado 80210
                                                              720-213-0676




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                                    CERTIFICATE OF SERVICE

        I hereby certify that on August 9, 2017 I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to all counsel
of record.



                                                        s/   Patrick H. Peluso




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